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                                                                    United States District Court
                                                                      Southern District of Texas

                                                                           ENTERED
                                                                           April 19, 2022
                    UNITED STATES DISTRICT COURT
                     SOUTHERN DISTRICT OF TEXAS                       Nathan Ochsner, Clerk

                        GALVESTON DIVISION

TERRY PETTEWAY, DERRICK ROSE, §
MICHAEL MONTEZ, and PENNY POPE, §
                                      §
          Plaintiff,                  §
                                      §   Civil Action No. 3:22-cv-00057
VS.                                   §
                                      §
GALVESTON, TEXAS, and                 §
HONORABLE MARK HENRY, in his          §
official capacity as Galveston County §
Judge,                                §
                                      §
          Defendant.                  §

                                   ORDER

       This matter, having come before the Court on the Unopposed Motion for

Leave to File Amended Complaint, and finding it is just and appropriate to be

granted, it is:

       ORDERED that the Unopposed Motion for Leave to File Amended

Complaint is GRANTED.

                    19th day of ___________,
       SIGNED this ____          April         22
                                             20_____.



                                       ___________________________
                                           JEFFREY VINCENT BROWN
                                        UNITED STATES DISTRICT JUDGE




1/1
